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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:20-CR-00084-TLN
12                                  Plaintiff,
                                                        FINAL ORDER OF FORFEITURE
13                          v.
14   JONATHAN THORNTON,
15                                  Defendant.
16

17          On or about January 11, 2024, this Court entered a Preliminary Order of Forfeiture pursuant to the

18 provisions of 18 U.S.C. § 2253(a), based upon the plea agreement entered into between plaintiff and

19 defendant Jonathan Thornton, forfeiting to the United States the following property:

20                  a.      Canon DS126571 EOS Rebel T6i digital camera, Serial Number: 431063002262,
                            with two lenses, three filters, and SanDisk memory cards,
21                  b.      Canon DS126571 EOS Rebel T6i digital camera, Serial Number: 282172014675,
                            with four lenses and a tripod,
22                  c.      Samsung SM-G950U Galaxy S8 cell phone, Serial Number: R28J70HFWZB, and
                    d.      Apple iPhone XR 128GB cell phone, IMEI: 353066100895725, Serial Number:
23                          F2LXV6CEKXLO.

24          Beginning on January 17, 2024, for at least 30 consecutive days, the United States published
25 notice of the Court’s Order of Forfeiture on the official internet government forfeiture site

26 www.forfeiture.gov. Said published notice advised all third parties of their right to petition the Court

27 within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

28 validity of their alleged legal interest in the forfeited property.

                                                           1                               Final Order of Forfeiture
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 1          The United States sent direct written notice by certified mail to the following individuals known

 2 to have an alleged interest in the above-described property:

 3                   a.      Patricia Duncan: A notice letter was sent via certified mail to Patricia Duncan at
                             2304 Estate Drive, Stockton, CA 95209 on January 17, 2024. The envelope was
 4                           returned on March 1, 2024, to the U.S. Attorney’s office as “unclaimed.”
 5                   b.      Bernadette Kohlin: A notice letter was sent via certified mail to Bernadette Kohlin
                             at 8310 Dauphin Drive, Stockton, CA 95210 on January 24, 2024. The PS Form
 6                           3811 (certified mail “green card” showing delivery of mail) was signed by David
                             Kohlin on January 27, 2024.
 7
                     c.      David Kohlin: A notice letter was sent via certified mail to David Kohlin at 8310
 8                           Dauphin Drive, Stockton, CA 95210 on January 24, 2024. The PS Form 3811
                             (certified mail “green card” showing delivery of mail) was signed by David Kohlin
 9                           on January 27, 2024.
10                   d.      Beverly Thornton: A notice letter was sent via certified mail to Beverly Thornton
                             at 8310 Dauphin Drive, Stockton, CA 95210 on January 24, 2024. The PS Form
11                           3811 (certified mail “green card” showing delivery of mail) was signed by David
                             Kohlin on January 27, 2024.
12

13          The Court has been advised that no third party has filed a claim to the subject property, and the

14 time for any person or entity to file a claim has expired.

15          Accordingly, it is hereby ORDERED and ADJUDGED:

16          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

17 and interest in the above-listed property pursuant to 18 U.S.C. § 2253(a), including all right, title, and

18 interest of Jonathan Thornton, Patricia Duncan, Bernadette Kohlin, David Kohlin, and Beverly Thornton.

19          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

20 United States of America.

21          3.       The U.S. Marshals Service shall maintain custody of and control over the subject property

22 until it is disposed of according to law.

23          SO ORDERED this 7th day of June, 2024.

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25                                                                       Troy L. Nunley
                                                                         United States District Judge
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                                                            2                                  Final Order of Forfeiture
